Form dsmbar

211 West Fort Street
Detroit, MI 48226


                                  UNITED STATES BANKRUPTCY COURT
                                        Eastern District of Michigan

                                              Case No.: 18−49309−tjt
                                                    Chapter: 7

In Re: (NAME OF DEBTOR(S))
   Candace A Davis
   aka Candace Alexis White
   8845 Lilly Drive
   Ypsilanti, MI 48197
Social Security No.:
   xxx−xx−7192
Employer's Tax I.D. No.:


                                 NOTICE OF DISMISSAL AND BAR FILING

NOTICE IS HEREBY GIVEN that an Order of the Court Granting Dismissal with Bar to Refiling was entered
on 08/29/2018: This case came before the Court today for a hearing on the Court's order entitled "Order to
Show Cause on Dismissal of Case for Failure to Pay Filing Fee" (Docket #21). The Debtor failed to appear at
the hearing, despite having been ordered to do so. For the reasons stated by the Court on the record during the
hearing, IT IS ORDERED that this bankruptcy case is dismissed, and IT IS FURTHER ORDERED that the
Debtor is prohibited from filing any new bankruptcy case, and the Clerk's Office is directed not to accept for
filing any new bankruptcy case, unless and until the Debtor first pays in full the $335.00 filing fee for this case .
Debtor Candace A Davis is permanently barred from filing a new case until the filing fees are paid (Re: related
document(s) 21). Accordingly, the automatic stay is lifted in the above entitled case.


Dated: 8/29/18

                                                          BY THE COURT



                                                          Katherine B. Gullo , Clerk of Court
                                                          UNITED STATES BANKRUPTCY COURT




         18-49309-tjt      Doc 23     Filed 08/29/18      Entered 08/29/18 11:36:37          Page 1 of 1
